         Case 1:20-cv-04599-JGK-OTW Document 125 Filed 12/14/22 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
ADAM POTTER,                                                    :
                                                                :
                        Plaintiff,                              :       20-CV-4599 (JGK) (OTW)
                                                                :
                      -against-                                 :       ORDER
                                                                :
BEACON INTERCONTINENTAL GROUP, INC., ET
                                                                :
AL.,
                                                                :
                        Defendants.                             :
                                                                :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         Pursuant to rulings made on the record at the December 13, 2022 status conference,

Defendants shall file their amended answer, defenses, and counterclaim by December 16, 2022.

Plaintiff’s response to those pleadings is due January 13, 2023.

         The parties are directed to file a joint proposed briefing schedule for Plaintiff’s anticipated

motion to compel and de-designation of certain documents by December 16, 2022.

The parties shall meet and confer on the question of Plaintiff’s anticipated 30(b)(6) depositions of

Defendants’ corporate representatives, and to inform the Court of the resolution of this dispute in

their next joint status letter. The parties may elect to file their next joint status letter on either

December 30, 2022 or January 6, 2023.

         The Court will hold a Pre-Settlement Conference Call in this matter on Thursday, January

26, 2023 at 2:00 p.m. The dial in information is (866) 390-1828, access code 1582687.

         SO ORDERED.



                                                                      s/ Ona T. Wang
Dated: December 14, 2022                                            Ona T. Wang
       New York, New York                                           United States Magistrate Judge
